 1                       Index of Exhibits to Ridley Declaration
 2   Exhibit                            Description                            Page(s)
 3    No.
       A       A true and correct copy of email correspondence from             1-3
 4             CoreCivic’s counsel to Plaintiffs’ counsel regarding protocol
               to schedule interviews with detainees.
 5

 6     B       A true and correct copy of excerpts from Plaintiff Jonathan      4-7
               Gomez’s detainee file. (Portions Filed Under Seal)
 7

 8     C       A true and correct copy of excerpts from Plaintiff Sylvester     8-12
               Owino’s detainee file. (Portions Filed Under Seal)
 9
       D       A true and correct copy of excerpts from Plaintiff Sylvester    13-20
10
               Owino’s detainee file. (Portions Filed Under Seal)
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                                          -1-            Case No. 17-CV-01112-JLS-NLS
